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                                         UNITED STATES COURT OF APPEALS
                                              FOR THE SIXTH CIRCUIT

                                            Appearance of Counsel
            23-1940
Appeal No.: ___________________________________

            Dennis Speerly, et al.                  General Motors, LLC
Case Title: _____________________________________vs.______________________________________



List all clients you represent in this appeal:
Chamber of Commerce of the United States of America; American Tort Reform Association;
Alliance for Automotive Innovation




         ‫ ܆‬Appellant             ‫ ܆‬Petitioner             ✔ Amicus Curiae
                                                          ‫܆‬                             ‫܆‬Criminal Justice Act
         ‫ ܆‬Appellee              ‫ ܆‬Respondent             ‫ ܆‬Intervenor                        (Appointed)

✔ Check if a party is represented by more than one attorney.
‫܆‬
✔ Check if you are lead counsel.
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If you are substituting for another counsel, include that attorney’s name here:



By filing this form, I certify my admission and/or eligibility to file in this court.

               Brian D. Schmalzbach
Attorney Name: ________________________________               Brian D. Schmalzbach
                                                Signature: s/_______________________________

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